        Case MDL No. 3089 Document 109-2 Filed 10/05/23 Page 1 of 1




            BEFORE THE UNITED STATES JUDICIAL PANEL
                 ON MULTIDISTRICT LITIGATION

In re: Oral Phenylephrine                )
Marketing and Sales Practices            )     MDL No. 3089
Litigation                               )
                                         )



                            SCHEDULE OF ACTIONS
    Style of Case           Case No.         Jurisdiction             Judge
  Travis v. Procter &    1:23-cv-00607        S.D. Ohio     Hon. Matthew W. McFarland
  Gamble Company;
 Kenvue, Inc.; McNeil
Consumer Healthcare;
  Reckitt & Benckiser
       LLC; and
 Glaxosmithkline LLC
 Newton’s Pharmacy v.    1:23-cv-00613        S.D. Ohio        Hon. Douglas R. Cole
  Procter & Gamble
Company; Kenvue, Inc.;
   McNeil Consumer
 Healthcare; Reckitt &
  Benckiser LLC; and
 Glaxosmithkline LLC
